              IN THE UNITED STATES DISTRICT COURT FOR THE
                      MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
v.                                               )      Criminal No. 3:00-00188
                                                 )      Judge Trauger
[9] KEVIN JERRON COOK                            )
                                                 )

                                        ORDER

      It is hereby ORDERED that the sentencing in this revocation proceeding is

SCHEDULED for Monday, December 22, 2014, at 3:00 p.m.

      It is so ORDERED.

      ENTER this 25th day of September 2014.




                                                 ________________________________
                                                       ALETA A. TRAUGER
                                                         U.S. District Judge




 Case 3:00-cr-00188     Document 1112       Filed 09/25/14     Page 1 of 1 PageID #: 421
